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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


 CRAIG PC SALES & SERVICE,                )
 LLC, an Oklahoma limited liability       )
 company, RAY T. CRAIG, SR., an           )
 individual; and RAY T. CRAIG, II, an     )
 individual,                              )
                                          )
                      Plaintiff,          )
                                          )
 -vs-                                     )      Case No. CIV-17-0003-F
                                          )
 CDW GOVERNMENT, LLC,                     )
 an Illinois limited liability company;   )
 and MICROSOFT CORPORATION,               )
 a Washington corporation,                )
                                          )
                      Defendants.         )

                                      ORDER

        The court is in receipt of Plaintiffs’ Motion to Stay Case Pending
Determination of Their Anticipated Motion to Declare The Oklahoma Citizens’
Participation Act as Unconstitutional Or, In the Alternative, Motion to Certify
Question to the Oklahoma Supreme Court, filed June 1, 2018. Doc. no 71.
        Any response to the motion shall be filed by noon on June 8, 2018 and any
reply shall be filed by noon on June 11, 2018.
        IT IS SO ORDERED this 4th day of June, 2018.




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